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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,
                                                                     24-cr-542 (AS)
        v.

 SEAN COMBS,

                         Defendant.



                               DECLARATION OF ANNA ESTEVAO

       I, Anna Estevao, declare as follows:

       1.      I am a partner at Sher Tremonte LLP, counsel for Sean Combs. I am licensed and

in good standing to practice law in the States of New York and California and I am also admitted

to the United States District Court for the Southern District of New York.

       2.      The declaration is based on my personal knowledge of the facts stated herein, and

is submitted in support of Mr. Combs’s motion in limine to preclude all known footage in the

parties’ possession purporting to show an incident between           and Mr. Combs on March 5,

2016 at the Intercontinental Hotel.

       3.      Attached as Exhibit A is the video the government attached to their September 17,

2024, September 18, 2024, and November 15, 2024 briefs opposing Mr. Combs’ release. This

video was aired on CNN on May 17, 2024.

       4.      On November 4, 2024, the government produced their fourth production of

discovery to the defense. Included in the production was USAO_00314352, which was CNN’s

public broadcast from May 17, 2024. Attached as Exhibit B is USAO_00314352.

       5.      On November 13, 2024, the government produced their sixth production of

discovery to the defense. Included in the production was USAO_00937645 – USAO_00937646,
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       10.     In connection with the court-ordered subpoena, CNN retained Davis Wright

Tremaine LLP (“DWT”) to represent them. DWT accepted service of subpoena on CNN’s behalf.

After multiple phone, Zoom and email conferrals with DWT over the course of several days, DWT

eventually admitted that CNN received a video file from a source (the “Original Video File”),

made a complete copy of that video file (the “Copy”), and then the Original Video File. Attached

to this Declaration as Exhibit H is written correspondence between myself and counsel from

DWT.

       11.     CNN complied with the subpoena and produced four video files. The first video

file is the CNN broadcast from May 17, 2024. The remaining three video files are the “Copy” of

the video file that CNN received from its source. Attached to this Declaration as Exhibit I are all

four video files received in response to the CNN subpoena. Exhibit I-1 is the segment that CNN

aired at 1pm on May 17, 2024. Exhibit I-2 is a six minute and 13 second clip from the hallway of

the Intercontinental with the filename 20633293-cen-1. Exhibit I-3 is a two minute and 15 second

clip from the elevator bank at the Intercontinental with the filename 20633327-cen-1. Exhibit I-4

is a one minute and 59 second video of another view of the hallway at the Intercontinental with

the filename 10633311-cen-1.

       12.     CNN, for their part, knew that there was a federal investigation into Sean Combs.

For example, after the raids on Combs’ residences in March 2024, CNN cited “a law enforcement



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source” who disclosed that the “search warrant activity” at Combs’ homes “is related to an ongoing

sex              trafficking            investigation.”             (emphasis               added).

https://www.cnn.com/videos/entertainment/2024/03/25/diddy-house-raided-sean-combs-los-

angeles-miami-vpx.cnn; see also https://www.cnn.com/2024/03/25/entertainment/sean-combs-

home-search/index.html ; https://www.cnn.com/videos/us/2024/03/30/diddy-investigation-sex-

trafficking-assault-hip-hop-legacy-givhan-lcl-vpx.cnn.

         13.    CNN has gone so far to publish that the very video they destroyed “could become

evidence in an ongoing federal investigation related to Combs and allegations of sex trafficking.”

https://www.cnn.com/2024/06/01/entertainment/sean-diddy-combs-cases-future/index.html.

         14.    Despite knowing of the federal investigation, CNN counsel has represented to

myself and Teny Geragos that they destroyed the original footage they received.

         15.    We have not received any information in discovery reflecting that the government

has investigated CNN’s destruction of evidence related to an ongoing federal investigation.

         16.    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated:          April 2, 2024
                New York, NY
                                                     /s/ Anna Estevao
                                                     Anna Estevao, Esq.




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